

People v Curry (2025 NY Slip Op 01468)





People v Curry


2025 NY Slip Op 01468


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, OGDEN, NOWAK, AND KEANE, JJ.


94 KA 22-01938

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJAKWAN CURRY, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






JULIE CIANCA, PUBLIC DEFENDER, ROCHESTER (DREW R. DUBRIN OF COUNSEL), FOR DEFENDANT-APPELLANT. 
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (MARTIN P. MCCARTHY, II, OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Monroe County (Thomas E. Moran, J.), rendered October 18, 2021. The judgment convicted defendant, upon his plea of guilty, of criminal possession of a weapon in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Memorandum: In appeal No. 1, defendant appeals from a judgment that convicted him, following his plea of guilty, of criminal possession of a weapon in the second degree (Penal Law § 265.03 [3]). In appeal No. 2, defendant appeals from a separate judgment that convicted him, following his plea of guilty, of criminal possession of a weapon in the second degree (id.).
Defendant's sole contention in each appeal—that Penal Law
§ 265.03 (3) is unconstitutional in light of the United States Supreme Court's decision in New York State Rifle &amp; Pistol Assn., Inc. v Bruen (597 US 1 [2022])—is unpreserved for our review (see People v Bell, 229 AD3d 1178, 1179 [4th Dept 2024], lv denied 42 NY3d 1018 [2024]; People v Sapp, 225 AD3d 1280, 1280 [4th Dept 2024], lv denied 41 NY3d 1020 [2024]; People v Williams, 224 AD3d 1355, 1355 [4th Dept 2024], lv denied 42 NY3d 941 [2024]; see generally People v Cabrera, 41 NY3d 35, 39, 42-47 [2023]).
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








